Entered: March 1st, 2019
                              Case 18-25361      Doc 21     Filed 03/01/19       Page 1 of 1
Signed: February 28th, 2019

SO ORDERED




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Baltimore
                              In re:   Case No.: 18−25361 − TJC     Chapter: 7     Doc No.: 16

Thomas T Benson and
Mary Jean Benson
Debtor




                                       ORDER CONTINUING HEARING OF
                                        REAFFIRMATION AGREEMENT
Upon consideration of the motion for continuance filed in the above−captioned matter by Thomas T. Benson and
Mary Jean Benson, and it appearing that the relief requested is justified, it is, by the United States Bankruptcy Court
for the District of Maryland,

ORDERED, that a hearing scheduled for March 12, 2019, is continued to April 9, 2019, at 10:00 a.m. in Courtroom
104 of the U.S. Bankruptcy Court, U.S. Post Office Building, 129 Main Street, Salisbury, Maryland 21801.

cc:    All Parties
       All Counsel

                                                    End of Order
12x01 (rev. 05/21/2012) − dsmith
